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                        UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW JERSEY


   ASSOCIATION OF NEW JERSEY
   RIFLE & PISTOL CLUBS, INC.,
   BLAKE ELLMAN,   and MARC CIVIL NO. 18-10507-PGS-JBD
   WEINBERG,
             Plaintiffs,
        v.
   MATTHEW PLATKIN, in his official
   capacity as Att01ney General of New
   Jersey, PATRICK J. CALLAHAN, in his
   official capacity as Superintendent of the
   New Jersey Division of State Police,
   RYAN MCNAMEE, in his official
   capacity as Chief of Police of the Chester
   Police Department, and JOSEPH
   MADDEN, in his official capacity as
   Chief of Police of the Park Ridge Police
   Department,

             Defendants.
  MARK CHEESEMAN, TIMOTHY
  CONNOLLY, and FIREARMS POLICY CIVIL NO. 22 _0436 0-PGS-JBD
  COALITION, INC.,
             Plaintiffs,
        v.
  MATTHEW J. PLATKIN, in his official
  capacity as Attorney General of New
  Jersey, PATRICK J. CALLAHAN, in his
  official capacity as Superintendent of the
  New Jersey State Police, CHRISTINE A.
  HOFFMAN, in her official capacity as
  Acting Gloucester County Prosecutor,
  and BRADLEY D. BILLHIMER, in his
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     official capacity    as   Ocean   County
     Prosecutor,

               Defendants.

     BLAKE ELLMAN, THOMAS R.
     ROGERS, and ASSOCIATION OF
     NEW JERSEY RIFLE & PISTOL CIVIL NO. 22-04397-PGS-JBD
     CLUBS, INC.,
            Plaintiffs,              MEMORANDUM

          v.
     MATTHEW PLATKIN, in his official
     capacity as Attorney General of New
     Jersey, PATRICK J. CALLAHAN, in his
     official capacity as Superintendent of the
     New Jersey Division of State Police, LT.
     RYAN MCNAMEE, in his official
     capacity as Officer in Charge of the
     Chester     Police    Department,     and
     KENNETH J. BROWN, JR., in his
     official capacity as Chief of the Wall
     Township Police Department,

               Defendants.

          Before the Court are consolidated cases in which there are two Motions for

 Summary Judgment and a Cross-Motion for Summary Judgment. The Plaintiffs

 challenge New Jersey's Assault Firearms Law, 1 claiming that aspects of this

 regulat01y scheme are unconstitutional under the Second and Fourteenth

 Amendments. (See ECF Nos. 174; 175). More specifically, Plaintiffs challenge the


 1N.J. Stat. Ann. §§ 2C:39-l(w), 2C:39-5(f) (West 2024); N.J. Stat. Ann § 2C:39-
 9(g) (West 2024); N.J. Stat. Ann. 2C:58-5 (West 2024).
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  constitutionality of the Assault Firearms Laws' prohibition on the possession of so­

  called "assault firearms" and a provision within the Assault Firearms Law that

  regulates the possession of large capacity ammunition magazines to magazines

  capable of holding no 1nore than ten rounds (hereinafter, the "LCM Ainendment"). 2

  State Defendants cross-move for su mmary judgment, arguing that the Assault

  Firearms Law and the LCM Amendment are constitutional. (ECF No. 183-1).

  Along with these Motions for Summary Judgment are Daubert 1notions to exclude

  expert testhnony. (ECF Nos. 176; 182). The Court heard oral arguments on the·

  Motions for Summary Judgment on April 11, 2024. (ECF No. 217).

        It is hard to accept the Supreme Court's pronouncements that certain

  firearms policy choices are "off the table" when frequently, radical individuals

  possess and use these same firearms for evil purposes. 3       Even so, the Court's

  decision today is dictated by one of the most elementary legal principles within

  our legal system: stare decisis. That is, where the Supreme Court has set


  2
    NJ. Stat. Ann. §§ 2C:39-l(y), 2C:39-3G) (West 2024); N.J. Stat. Ann. § 2C:39-
  20(a) (West 2024).
  3 Justice Scalia explained in Heller:

         We are aware of the problem of handgun violence in this country, and
         we take seriously the concerns raised by the many amici who believe
         that prohibition of handgun ownership is a solution. The Constitution
         leaves the District of Columbia a variety of tools for c01nbating that
         problem, including s01ne measures regulating handguns . . . . But the
         enshrinement of constitutional rights necessarily takes ce11ain policy
         choices off the table.
  District of Columbia v. Heller, 554 U.S. 570, 636 (2008).
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 forth the law of our Nation, as a lower court, I am bound to follow it. This

 principle-combined with the reckless inaction of our governmental leaders to

 address the mass shooting tragedy afflicting our Nation-necessitates the Court's

 decision.   For these reasons and those below, the AR-15 Provision of Assault

 Firearms Law is unconstitutional. The LCM Amendment is constitutional. Both

 Daubert motions are also denied.

                                          I.

       Prior to discussing this decision's logic, the Court addresses the limited scope

 of this decision. With respect to Plaintiffs' Motions for Summary Judgment as to

 the Assault Firearms Law generally, Plaintiffs sometimes broadly frame their

 argument-effectively seeking a wholesale declaration that the Assault Firearms

 Law is unconstitutional. (See ECF No. 174-1 at 29-30; ECF No. 175-7 at 28-34).

 At other times, Plaintiffs are narrower in their request, focusing their arguments on

 the AR-15. (ECF No. 174-1 at 36-37; ECF No. 175-7 at 29; ECF No. 174-7 at ,r,r

 18-19, 23-24; ECF No. 175-8 at ,r 25).

       For example, Plaintiffs Mark Cheeseman and Timothy Connolly state that

 they intend and desire to exercise their rights to keep and bear firearms classified as

 "assault firearms" under the Assault Firearms Law, "including but not limited to" an

 AR-15 style rifle. (ECF No. 174-7 at ,r,r 18-19, 23-24). In another example, within




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  Plaintiffs Blake Ellman's and Thomas Rogers' Statement of Undisputed Material

  Facts, they write:

        The challenged version of the New Jersey 'assault fireanns' law has
        nothing to do with the military M16 select-fire rifle, only with the AR-
        15, the civilian semiautomatic version that fires one single shot for each
        separate pull of the trigger, just as all other semiautomatic firearms do
        The select-fire ("fully aut01natic") Ml 6 version of the rifle is heavily
        regulated under federal law and other New Jersey statutes, and is not
        involved in this case.

  (ECF No. 175-8 at 125) (emphasis in the original). State Defendants' briefing also

  appears to focus largely on the AR-15 as a typical "assault weapon" under the

  Assault Firearms Law. (See ECF No. 183-1 at 15, 33-34, 43-48). Thus, the

  infonnation presented to the Court focuses largely on one specific type of firearm:

  the AR-15. And given the variety of fireanns regulated in the Assault Firearms Law

  and the nuances that each individual fireann presents, the Court's analysis of the

  Assault Firearms Law is limited to the firearm with which the Court has been

  provided the most infonnation: the AR-15. The question before the Court therefore

  concerns N.J. Stat. Ann. § 2C:39-l(w)(l)'s inclusion of the Colt AR-15 4 in its

  enumerated list of "assault firearms" (hereinafter, the "AR-15 Provision"). 5 More



  4 Although the Court refers to the fireann as the "AR-15," the precise firearm defined
  as regulated within the AR-15 Provision is the "Colt AR-15."
  5 The full text ofN.J. Stat. Ann.§ 2C:39-l(w)(l)'s AR-15 Provision includes two
  firearms in its full text: the Colt AR-15 and the CAR-15 series. Even where the
  disputed provision lists two weapons, the Comt's analysis of the AR-15 Provision
  focuses only upon the AR-15. This is because the Court has not been provided with
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 precisely, the question is whether the possession of the AR-15 for use within the

 h01ne for self-defense is unconstitutional under the Second and Fourteenth

 Amendments. 6

       For the reasons enumerated below, the AR-15 Provision is unconstitutional.

 Accordingly, the breadth of this decision is limited by the fact that the remainder of

 the Assault Firearms Law stands since it has not been challenged.

                                          II.

       New Jersey amended its existing firearms regulatory scheme and enacted the

 Assault Firearms Law7 in 1990. This law criminalized the possession of many types



 sufficient information regarding the CAR-15 series to deduce what this weapon is
 or how it relates to the AR-15.
 6 On this question, Counsel for the Ellman and Association of New Jersey Rifle &

 Pistol Clubs, Inc. Plaintiffs anecdotally set forth this argument at oral argument by
 stating the following:

       [I]f s01neone's breaking into 1ny home, I'm reaching for my AR-15.
       I'm going to defend my home with my AR-15, no question in1ny mind.
       So, you know, counsel, my friend on the other side says, well, you don't
       need-you're not defending 500 yards, you're not defending, that's not
       the point. And, again, .... [t]he AR-15 platform and all of the firearms
       like it are excellent at every range. You don't need to be at 500 yards
       to take and pull out your rifle and defend yourself. At twenty yards, at
       ten yards I'd rather have my AR-15 .... [R]ifles are always better at
       defending yourself than handguns. Handguns are weak.

 (Apr. 11,2024 Tr. 81:24-82:11).
 7 P.L. 1990, Ch. 32 (West); see N.J. Stat. Ann. §§ 2C:39-l(w), 2C:39-5(f) (West

 2024); N.J. Stat. Ann § 2C:39-9(g) (West 2024); NJ. Stat. Ann. 2C:58-5 (West
 2024).
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  and models of firearms; it criminalized rifle possession as a crime of the second

  degree requiring a term ofimprisomnent unless the assault firearm was licensed. See

  P.L. 1990, Ch. 32 (West); see N.J. Stat. Ann. §§ 2C:39-5(f), 2C:39-5(h), 2C:39-5(i)

  (West 2024).

         Within the Assault Firearms Law, the term "assault firearm'' is defined

  broadly and encompasses numerous categories. The law enumerates more than sixty

  weapons that constitute assault firearms, including but not limited to:

      • any shotgun with a revolving cylinder such as the "Street Sweeper" or "Striker
        12"·
            '
      • Beretta AR-70 and BM59 semi-automatic firearms;
      • Buslunaster Assault Rifle;
      • Colt AR-15 and CAR-15 series;
      • Galil type
      • Heckler and Koch HK.91, HI<.93, HI<.94, MPS, and PSG-1;
      • the Ruger K-Mini-14/5F and Mini-14/SRF;
      • the Springfield Armory BM59 and SAR-48 type;
      • the USAS 12 semi-automatic type shotgun; and
      • Uzi type semi-automatic firearms.
  P.L. 1990, Ch. 32 (West); see N.J. Stat. Ann. § 2C:39-l(w)(l) (West 2024).

  Relevant to the analysis here is the provision within the Assault Firearms Law

  regulating the "Colt AR-15" (hereinafter, the "AR-15 Provision"). 8




  8  For the reasons enumerated above, the Court limits its analysis of the
  constitutionality ofN.J. Stat. Ann.§ 2C:39-l(w)(l) to the information that has been
  briefed. See discussion at supra note 5.
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       The Assault Firearms Law also has a catchall phrase broadening its impact.

 The Assault Firearms Law applies to "[a]ny firearm manufactured under any

 designation which is substantially identical to any of the firearms listed above," P.L.

  1990, Ch. 32 (West); see N.J. Stat. Ann. § 2C:39-l(w)(2) (West 2024) (emphasis

 added). In addition, certain types of semi-automatic rifles were prohibited, such as:

 a "semi-automatic shotgun with either a magazine capacity exceeding six rounds, a

 pistol grip, or a folding stock," N.J. Stat. Ann §2C:39-l(w)(3) (West 2024); any "part

 or combination of parts ... [that] convert a firearm into an assault firearm ... from

 which an assault firearm may be readily assembled," N.J. Stat. Ann§ 2C:39-l(w)(5)

 (West 2024); and a "firearm with a bump stock attached." NJ. Stat. Ann §2C:39-

  l(w)(6) (West 2024). 9 The original law from 1990 had a prohibition on large

 capacity ammunition magazines such that no semi-automatic rifle with a fixed

 magazine capacity could exceed 15 rounds. See P.L. 1990, Ch. 32 (West); N.J. Sess.

 Law Serv. Ch. 39. (West).

       In 2018, New Jersey enacted P.L. 2018, Chapter 39, which revised the

 definition of an unlawful "large capacity ammunition magazine" from a capacity of




 9 Note that this provision was not a part of the original 1990 law as drafted and was

 added in a 2017 amendmentnrnde effective January, 16, 2018. N.J. Sess. Law Serv.
 Ch. 323. (West).
                                           8
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  fifteen rounds to ten rounds (hereinafter, the "LCM Amendment"). N.J. Stat. Ann.

  §§ 2C:39-l(y), 2C:39-3G); N.J. Stat. Ann.§ 2C:39-20(a).

                                           III.

        A motion for summary judgment should be granted only if "there is no

  genuine dispute as to any material fact and the movant is entitled to judgment as a

  matter of law." Fed. R. Civ. P. 56(a). "[T]he dispute about a material fact is

  'genuine' ... if the evidence is such that a reasonable jury could retmn a verdict for

  the norunoving party." Anderson v. Liberty Lobby, Inc., 477 U.S. 242,248 (1986)).

  "A factual dispute is 'material' if it 'might affect the outcome of the suit under the

  governing law."' Razak v. Uber Techs., Inc., 951 F.3d 137, 144 (3d Cir. 2020)

  (quoting Anderson, 477 U.S. at 248).

        "The Court must view the facts and evidence presented on the motion in the

  light most favorable to the nonmoving party." Razak, 951 F.3d at 144; see also

  Pichler v. UNITE, 542 F.3d 380,386 (3d Cir. 2008) (stating that "[o]n cross-motions

  for summary judgment, the court construes facts and draws inferences in favor of

  the party against whom the motion under consideration is made" (internal quotation

  marks and citation omitted)). Moreover, summary judgment "is inappropriate when

  the evidence is susceptible of different interpretations or inferences by the trier of

  fact." Hunt v. Cromartie, 526 U.S. 541, 553 (1999). Thus, a "judge's function is

  not ... to weigh the evidence and determine the truth of the matter but to determine

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  whether there is a genuine issue for trial." Anderson, 477 U.S. at 249. As such, "the

  court must ask whether, on the summary judgment record, reasonable jurors could

  find facts that demonstrated, by a preponderance of the evidence, that the nonmoving

  pmty is entitled to a verdict." In re Paoli R.R. Yard PCB Litig., 916 F.2d 829, 860

  (3d Cir. 1990).

        In this case, there are many disputes of fact. Genuine disputes of material fact

  are where ''the 'evidence is such that a reasonable jury could return a verdict for the

  nonmoving pmty[,]'" and "[a] factual dispute is 'material' if it '1night affect the

  outcome of the suit under the governing law. rnIO         When Plaintiffs and State

  Defendants were questioned about this issue at oral argument, Plaintiffs and State

  Defendants detailed their different positions on how to resolve a motion for summary

  judgment where there are so many issues of fact. (See Apr. 11, 2024 Tr. 10:24-

  14:20). The Ellman and Association of New Jersey Rifle & Pistol Clubs, Inc.

  Plaintiffs suggested that, because the Motions for Summary Judgment handle issues

  of law, no further record was needed and that the Comt could decide the case on the

  constitutionality of the challenged laws alone.       (Apr. 11, 2024 Tr. 11:5-13).

  Similarly, the Cheeseman Plaintiffs stated that because the facts upon which the

  Cheeseman Plaintiffs were focusing utilized the "common use test and what that

  demonstrates," such an analysis brings the Court to a conclusion that does not rely


  10 Razak, 951 F.3d at 144 (quoting Anderson, 477 U.S. at 248).

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  upon disputed facts. (Apr. 11, 2024 Tr. 13:17-14:10). State Defendants, on the

  other hand, believe that the Court could rely on the undisputed facts within the record

  and decide the issue. (Apr. 11, 2024 Tr. 14:13-20). 11 Since the disputed facts before

  the Comt are largely legislative in nature and not adjudicative, the Court may decide

  the Motions for Smmnary Judgment.

        These disputed facts are legislative rather than adjudicative facts. According

  to the Advisory Committee Note to Federal Rule of Evidence 201, the distinction

  between adjudicative facts and legislative facts is that "adjudicative facts are simply

  the facts of the particular case" whereas legislative facts "are those which have

  relevance to legal reasoning and the lawmaking process, whether in the formulation

  of a legal principle or ruling by a judge or court or in the enactment of a legislative

  body." Fed. R. Evid. 201(a), Advisory Committee Note to 1972 Proposed Rule [of

  Evidence] 201. The disputed facts in the case before the Court bear largely upon the

  historical framework against which we are operating, the interpretation of the

  historical record, or the reading of disparate laws across the United States. As "there



  11 The State Defendants effectively stated that should the Comt disagree with their
  assessment of the facts, summary judgment was inappropriate. State Defendants
  explained their position by stating: 44 [W]e do think that if you disagree with what I
  just said, Your Honor can't grant the plaintiff smmnary judgment because we have
  genuine issues of material fact on their facts." (Apr. 11, 2024 Tr. 14:21-24).
  Notably, prior to oral argument, both Plaintiffs and State Defendants had agreed
  during conferences with the Court that they did not wish to proceed to trial and that
  these issues could be decided at the summary judgment stage.
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  are no evidentiary issues in these ... cases" and "[t]he constitutionality of the

  challenged statutory provisions do[] not present factual questions for determination

  in a trial[,]" the Court makes its factual findings below. Moore v. Madigan, 702

  F.3d 933,942 (7th Cir. 2012) (noting that "[o]nly adjudicative facts are determined

  in trials, and only legislative facts are relevant to the constitutionality of the

  [challenged gun law].")

        Relying upon this same reasoning, both Daubert motions are denied. The

  facts before the Court are legislative rather than adjudicative in nature. They are

  complex, detailed, and often broad sweeping; frequently, they reach conclusions

  about general traditions at work within our Nation. Given the fact that these are

  legislative facts-and where the record is complex and broad-it is within the

  Court's discretion and an exercise of its gate-keeping function to decide the issues

  presented to it based upon all information presented. See Jones v. Banta, 34 F.4th

  704, 726 n.24 (9th Cir.), vacated upon reh 'g, 4 7 F.4th 1124 (9th Cir. 2022) (in a pre-

  Bruen decision, noting that the Ninth Circuit Court of Appeals could consider facts

  that had not been submitted at the District Court level because they were legislative

  facts rather than adjudicative facts); see also G.M Enterprises, Inc. v. Town of St.

  Joseph, Wis., 350 F.3d 631, 640 (7th Cir. 2003) (at the summary judgment stage in

  the First Amendment context, noting that "[a] requirement of Daubert-quality

  evidence would impose an unreasonable burden on the legislative process .... ").


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  Accordingly, the Court considers all the expert reports presented to it. The Comt

  relies upon the information it believes to be most credible in making this decision.

  The Daubert motions are denied.

                                           IV.

        The Association of New Jersey Rifle and Pistol Clubs, Inc. (hereinafter

  "ANJRPC") and the Firearms Policy Coalition, Inc. (collectively, the "Groups" or

  the "Group") are Plaintiffs in these consolidated cases. Although no party has

  objected to the Groups' standing to sue, no relief is granted or denied as to either

  Group aside from the relief enumerated below as to their named Plaintiffs.

        A. Plaintiffs: Ass'n of New Jersey Rifle ftnd Pistol Clubs, Inc., et al. v.
           Platkin et al. (No. 18-cv-10507) and Ellman v. Platkin et al. (No. 22-cv-
           4397)
        Plaintiffs and members of ANJRPC Blake Ellman and Thomas Rogers wish

  to acquire-and state that but-for the Assault Firearms Law would acquire-one or

  more of the banned semi-automatic firearms for purposes of self-defense in the home

  or other lawful purposes. (ECF No. 175-8 at, 22).        Plaintiffs and members of

  ANJRPC Blake Ellman and Marc Weinberg wish to acquire-and state that but-for

  the LCM Amendment would acquire-a magazine that qualifies as a "large capacity

  ammunition magazine" for purposes of self-defense in the home or other lawful

  purposes. (ECF No. 175-8 at, 20). No facts or evidence have been presented to

  suggest that all semi-automatic firearms are substantially identical to the AR-15.

               a. Blake Ellman
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        Blake Ellman (hereinafter, "Ellman") is a Plaintiff in this litigation. (ECF No.

  175-8 at ,r 1). Ellman is a law-abiding citizen of the United States and resident of

  the State of New Jersey. (ECF No. 175-8 at ,r 3).    Ellman is a firearms instructor,

  range safety officer, armorer, and competitive shooter. (ECF No. 175-8 at ,r 2).

  Ellman is not a retired law enforcement officer and does not fall within any of the

  other exceptions enumerated in the LCM Amendment. (ECF No. 175-8 at ,r 3).

        Prior to the effective date of LCM Amendment, Ellman lawfully owned and

  kept in the State of New Jersey ammunition magazines that were capable of holding

  more than ten but fewer than sixteen rounds of ammunition. Ellman owned these

  magazines for lawful purposes, including self-defense in the home. Ellman states

  that but-for the LCM Amendment, he would have continued to own and keep these

  magazines in his home in the State of New Jersey. Instead, Ellman states that he

  was forced, in some instances, to transfer noncompliant magazines and purchase

  new replacement magazines at considerable cost. Ellman also states that, in other

  instances, he was forced to spend money to permanently modify other magazines

  thereby significantly impairing the value of those magazines. Ellman further states

  that since the LCM Amendment went into effect, he has purchased several new

  pistols for which he was required to pay money to permanently modify the

  magazines down to ten rounds prior to receiving them in the State of New Jersey.

  (ECF No. 175-8 at ,r 4). If it were lawful, Ellman claims that he would also acquire


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  new magazines capable of holding 1nore than ten rounds of ammunition. Because

  of the LCM A1nendment and the associated criminal penalties, Ellman states that he

  refrains from doing so. (ECF No. 175-8 at ,r 5).

          In addition, Ellman wishes to own semi-automatic firearms for lawful

  purposes, including self-defense in the home. Ellman states that he would choose a

  semi-aut01natic rifle as an option for home defense.          This is because, as an

  experienced firearm owner and instructor, Ellman believes that a semi-aut01natic

  rifle is ideally suited to his home defense needs. Ellman states that but-for Assault

  Firearms Law, he would acquire and keep one or 1nore semi-automatic firearms in

  his New Jersey home. However, Ellman states that because of the Assault Firearms

  Law and the associated criminal penalties, he refrains fr01n doing so. (ECF No. 175-

  8 at ,r 7). Ellman states that he would otherwise apply for a license to possess semi-

  aut01natic firearms. (ECF No. 175-8 at ,r 8).

                b. Marc Weinberg

          Marc Weinberg (hereinafter, "Weinberg") is a Plaintiff in this litigation. (ECF

  No. 175-8).      He is a citizen of the United States and resident of New Jersey.

  Weinberg is not a retired law enforcement officer, and Weinberg does not fall within

  any of the other exceptions enumerated in the LCM Amend1nent. (ECF No. 175-8

  at ,r 10).




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        Weinberg lawfully owned and kept in New Jersey ammunition magazines that

  qualified as "large capacity ammunition magazines" under the LCM Amendment

  because they were capable of holding more than ten but fewer than sixteen rounds

  of ammunition. Weinberg owned these 1nagazines for lawful purposes, including

  self-defense in the home. Weinberg states that but-for the LCM Amendment, he

  would have continued to own and keep these magazines in his New Jersey home.

  Instead, Weinberg states that he was forced to sell these magazines at a substantial

  loss. Fmiher, since the LCM Amendment went into effect, Weinberg states that he

  purchased two new pistols for which he was required to pay money to permanently

  modify the magazines down to ten rounds prior to receiving them in New Jersey.

  (ECF No. 175-8 at ,r 11).    If permitted to do so, Weinberg states that he would

  acquire new magazines capable of holding more than ten rounds of ammunition.

  Weinberg states that because of the LCM Amendment and the associated criminal

  penalties, he refrains from acquiring such firearms. (ECF No. 175-8 at ,r 12).

               c. Thomas Rogers

        Thomas Rogers (hereinafter, "Rogers") is a Plaintiff in this litigation. (ECF

  No. 175-8). He is a citizen of the United States and resident of New Jersey. Rogers

  does not fall within any of the exceptions enumerated in the Assault Firearms Law.

  (ECF No. 175-8 at ,r 14). Rogers is a long-time firearms owner, having owned and

  used firearms for more than fo1iy years. (ECF No. 17 5-8 at ,r 15). Rogers wishes


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  to own semi-automatic firearms for lawful purposes, including self-defense in the

  home. In particular, he would choose a semi-automatic shotgun as an option for

  home defense because, as an experienced firearm owner, Rogers believes that a

  semi-automatic shotgun is ideally suited to his home defense needs. Rogers pleads

  that but-for the Assault Firearms Law, he would acquire and keep one or more semi-

  automatic firearms in his New Jersey home. Rogers states that because of Assault

  Firearms Law and the associated criminal penalties, he refrains from acquiring such

  firearn1s. (ECF No. 175-8 at 'il 16).

        B. Plaintiffs: Cheesenutn, et al., v. Platkin, et al. (No, 22-cv-4360)

        Plaintiffs-and members of the Firearms Policy Coalition, Inc.-Mark

  Cheeseman and Timothy Connolly seek to exercise their right to keep and bear semi-

  automatic arms for lawful purposes in New Jersey but are prohibited from doing so

  under the Assault Firearms Law. (ECF No. 174-7 at 'il 27), No facts or evidence

  has been presented to suggest that all semi-automatic firearms are substantially

  identical to the AR-15.

               a. Mark Cheeseman and Timothy Connolly

        Plaintiffs Mark Cheeseman (hereinafter, "Cheeseman") and Timothy

  Connolly (hereinafter, "Connolly'') are plaintiffs in this litigation. (ECF No. 174-7

  at 'il'il 16-17). Plaintiffs Cheeseman and Connolly state that they intend and desire

  to exercise their rights to keep and bear firearms classified as "assault firearms"


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  under the Assault Firearms Law, including but not limited to an AR-15 style rifle,

  for lawful purposes including: home defense, target shooting, and proficiency

  training. (ECF No. 174-7 at ,r,r 18-19). But-for the Assault Firearms Law, Plaintiffs

  Cheese1nan and Connolly state that they would acquire, purchase, and/or receive,

  and lawfully use this firearm, and other ''assault firearms," including prohibited

  shotguns and handguns. (ECF No. 174-7 at ,r,r 20-21 ). The Assault Firearms Law

  nonetheless renders it illegal for either of them to do so. (ECF No. 174-7 at ,r 22).

         Considering the State's enforcement of the Assault Firearms Law, Plaintiffs

  Cheeseman and Connolly state that they refrain from acquiring, possessing, and

  using for self-defense and other lawful purposes any AR-15 rifle, any other firearm

  prohibited under the Assault Firearms Law, or any "substantially identical" fireann

  as defined under the Guidelines, 12 based on the reasonable fear and threat of arrest,

  confiscation, prosecution, fine, and imprisonment for violating the Assault Firearms

  Law. (ECF No. 174-7 at ,r 23)

         C. Historical and Statutory Background

        The Parties have provided the Court with a comprehensive historical analysis.

  It can be distilled as follows:

      1. In 1791, about twelve years after the end of the American Revolutionary War,

         the Bill of Rights was adopted as pa1t of the Constitution of the United States


  12 See infra ,I 23-24.

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         to protect and guarantee the freedom of citizens. One of those rights is the

         right to "keep and bear Arms.'' The Second Amendment provides:

              A well regulated Militia, being necessary to the security of a free
              State, the right of the people to keep and bear Arms, shall not be
              infringed.

      U.S. Const. Amend. IL

      2. In the 1830s, some State legislatures enacted laws regulating arms despite

         that Second Amendment guarantee. One of these laws concerned Bowie

         knives. Bowie knives were a type of lrnife that proliferated throughout the

         United States during the 1800s. Bowie lrnives were distinctive for their long

         blades; these blades were longer than ordinary knives. (ECF No. 176-1 at

         401; id. at 503-04). Bowie knives also had crossguards to protect the hands

         of a combatant, and they had clip points to make it easier to cut or stab

         opponents. (ECF No. 176-1 at 401; id. at 503-04). While the Bowie lmife

         could be used in self-defense against a violent aggressor, such lrnives ended

         up being widely used in fights and criminal activities at that time. (Id. at

         505-09 (citing three cases, two from Tennessee and one from Texas: Aymette

         v. State, 1840 WL 1554, 21 Tenn. 152 (Tenn. 1840); Haynes v. Tennessee,

         1844 WL 1894, 24 Tenn. 120 (Tem1. 1844); Cocla,um v. State, 1859 WL

         6446, 24 Tex. 394 (Tex. 1859); ECF No. 183-1 at 74-75). Between 1837




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         and 1868, twenty-four States or Territories 13 enacted regulations that placed

         restrictions on the possession of Bowie knives. (ECF No. 176-1 at 582-85;

         id. at 624-718). Once Bowie knives' potential misuse became apparent,

         restrictions were enacted in all other states or territories-with the exception

         of New Hampshire-within the next few decades and up until the Twentieth

         Century. (Id. at 510). This did include laws that restricted the type of knife

         embodied by the Bowie lmife without mentioning a Bowie lmife by name.

         (Id.).

      3. In terms of magazines for firearms, it was not until the mid-1800s that patents

         for magazines began appearing in the historical record. In 1847, Walter Hunt

         patented a tubular magazine. (ECF No. 175-6 at 21). In 1855, Rollin White

         patented a box magazine. (Id.). Finally, in 1864, Robert Wilson patented a

         detachable magazine. (Id.; see ECF No. 176-1 at 896-97). Large capacity

         detachable magazines and the belt feeding mechanism "can be traced directly

         to a military heritage ... and it was[ not] until the advent of WWI that

         development and refinement of large capacity feeding devices for

         machineguns gained increased importance." (ECF No. 176-1 at 896).



  13 These states were Alabama; Arizona; California; Colorado; District of Columbia;

  Florida; Georgia; Hawaii; Idaho; Indiana; Kansas; Kentucky; Maine; Massachusetts;
  Mississippi; Montana; New Mexico; New York; North Carolina; Ohio; Tennessee;
  Texas; Virginia; and Washington. (ECF No. 176-1 at 582-85).
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         Admittedly, the "line between military and civilian arms was certainly

         blurred at the founding of the country. While the military . . . s0111etimes

         utilized superior civilian arms, civilians could also possess guns that were

         traditionally associated with the military .... " (ECF No.175-6 at 18).

      4. In the 1860s, rifles capable of holding more than ten rounds became

         available, but the magazine was fixed. 14 (ECF No. 175-6 at 21; ECF No.

         184-3 at 8, 43-44, 46). These rifles were mostly sold to the military, and

         civilians possessed a small percentage of those rifles at the time of the

         ratification of the Fourteenth Amendment in 1868. (ECF No. 184-3 at 48).

      5. Indeed, despite the issuance of a patent for detachable magazines in 1864,

         firearms with detachable magazines were not widely available until the end

         of the Nineteenth Century. (ECF No. 175-6 at 21; ECF No. 176-1 at 475-

         76; ECFNo. 197 at23). According to State Defendants' expert Brian Delay,

         "detachable magazines first emerged in the 1880s and began to be integrated

         into firearms for the consumer market by the end of the century." (ECF No.

         184-3 at 54).

      6. By the l 920s, firearms with detachable magazines capable of holding more

         than ten rounds became commercially available. (ECF No. 184-3 at 9).

         During this same time, many states began regulating magazine capacities for


  14 A fixed magazine is a magazine that is not detachable from the firearm.

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         semi-automatic firearms. (ECF No. 176-1 at 419 (citing Robert J. Spitzer,

         Gun Accessories and the Second Amendment, 83 L. & CONTEMP. PRO BS. 23 7,

         238 (2020)); ECF No. 176-1 at 4 75-77).

      7. Nine States and the District of Columbia between the years of 1917 and 1934

         regulated magazine capacity or set firing limits for semi-automatic and fully

         automatic weapons. (ECFNo. 176-1 at 476,478). These were: the District of

         Columbia; Massachusetts; Michigan; Minnesota; New Jersey; Nmih

         Carolina; Ohio, Rhode Island; South Dakota; and Virginia. (Id. at 476, 478).

         Some of these statutes regulated these rounds for a particular purpose only,

        such as hunting.    (Id. at 478). Eleven more states regulated only fully

        automatic weapons between 1923 and 1933, "where the regulation was

        defined by the number of rounds that could be fired without reloading or by

        the ability to receive ammunition feeding devices." (Id. at 476). These States

        were Illinois; Louisiana; Minnesota; New Jersey; Nmih Dakota; Oregon;

        Pennsylvania; South Carolina; Texas; and Vermont. Between 1927 and

        1933, California, Hawaii, Missouri, and Washington State banned all

        firearms capable of receiving rounds through feeding devices. (Id. at 476,

        478).

     8. In 1934, Congress passed the National Firearms Acts which "[h]eavily

        regulated machine guns, short-barrel rifles[,] shotguns, and silencers." (ECF


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         No. 176-1 at 331). In 1938, Congress passed the Federal Firearms Act which

         established "a federal licensing system to regulate manufacturers, impmiers,

         and dealers to firearms." (ECF No, 176-1 at 332). These laws were passed

         in response to several gangland shootings involving machine guns in the

         immediately-preceding years and to reduce the number of shots that a shooter

         could release in rapid succession in an incident. (ECF No. 176-1 at 418-20,

         473; ECF No. 183-2 at 19).

      9. In terms of the AR-15, it was not developed until the mid-Twentieth Century.

         In 1956, Eugene Stoner developed the AR-10-the precursor to the AR-15.

         (ECF No. 175-6 at 21; see also ECF No. 184-3 at 98). In 1959, Armalite-

         an Ainerican small arms engineering firm-sold the rights to Colt's

         Manufacturing to produce the AR-15. (ECF No. 175-6 at 21; see also ECF

         No. 184-3 at 98). By 1964, Colt's Manufacturing delivered AR-15s to the

         commercial market. (ECF No. 175-6 at 21).

      10. The AR-15 is a style of semi-automatic rifle. This 1neans that a user can fire

         only one round for each pull of the trigger, and the rifle either self-reloads or

         chambers the next round after one round is fired. (E.g., ECF No. 175-8 at 6-

         7).

      11.A semi-automatic weapon differs in important ways from a manually-

         operated repeating firearm; a manually-operated repeating firearm requires


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         that a user "manually operate the mechanis1n to bring a fresh cartridge into

         position for firing." (ECF No. 184-3 at 98). The semi-automatic weapon

         also differs from a fully automatic firearm, like a machine gun, because a

         fully autmnatic firearin-when the trigger is depressed-will fire a

         continuous, rapid series of shots until the trigger is released or the

         mnmunition supply is exhausted. (Id.). To shoot a se1ni-automatic weapon

         like the AR-15, one must depress the trigger each time that one wishes to

         shoot. (ECF No. 174-1 at 31 ). Rounds are inserted into the AR-15 through

         a detachable magazine.

      12. An AR-15 style rifle can have the following design:




                  GAS 81.0CK ~AS P9RT   GAS TU8f




            (ECF No. 184-3 at 106, 228 (emphasizing the straight-line design of the

            AR-15/M-16 model).

      13.The AR-15 is produced by several different manufacturers. (See ECF No.

         175-8 at 14-15). These include, but are not limited to: Colt; FN, Ruger;

         Remington; Bushmaster; Rock River Arms; Wilson Combat; Barrett; DPMS

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         Panther Arms; H&K; Lewis Machine; Olympic Arms; Palmetto State

         Armory; and Mossberg. (Id.).

      14.In 2018, an estimated five to ten million AR-15s were in civilian hands in the

         United States. (Id.). As of 2022, it was estimated that there were around 24

         million AR- l 5s and similar sports weapons in circulation; this number was

         exceeded only by the number of registered handgun owners within the United

         States. (ECF No. 174-1 at 37; ECF No. 175-5 at 14~15; see also Nicholas J.

         Johnson, Supply Restrictions at the Margins of Heller and the Abortion

         Analogue, 60 HASTINGS L.J. 1285, 1296 (2009) (noting that in 2009, a year

         after Heller, that the AR-15 was the best-selling rifle type within the United

         States).

      15.According     to   Plaintiffs'   Expert     Emanuel   Kapelsohn   (hereinafter,

         "Kapelsohn"), the AR-15 has many uses, including self-defense, target

         shooting, hunting, and pest control by ranchers and farmers. (ECF No. 184-

         3 at 101 ). According to Kapelsohn, the build of the weapon also 111akes it

         particularly well-suited to self-defense. According to Kapelsohn, because of

         the AR-15 's "light weight, very mild recoil, and good ergonomics/' it is a

         weapon which is "well suited to younger shooters, female shooters, and other

         shooters of smaller stature ... ," (Id.).




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      16.Further, it is "an easy rifle for larger, stronger individuals to use." (Id.).

         Overall, according to Kapelsolm, all these design features-including the

         effectiveness of the AR-15's cartridge for self-defense use and its better

         continuity of fire when used with available magazines-make the AR-15 a

         good choice for self-defense. (Id.).

      17.Evidence has also been presented that AR-15s are used for self-defense.

         Plaintiffs have shown that the AR-15 has been used recently in several,

         relatively high-profile self-defense events in Florida, Illinois, Texas,

         Pennsylvania, and Oklahoma.         (ECF No. 175-5 at 105-12, 120-26).

         Plaintiffs in this matter have also pied that, but-for the Assault Firearms

         Law's AR-15 Provision, they would own an AR-15 for the purpose of self-

         defense within the home. (ECF No. 174-7 at ,r,r 18-19; see also ECF No.

         175-8 at ,r,r 7, 16 (where Plaintiffs Ellman and Rogers argue that they would

         possess a semi-automatic weapon without naming the AR-15 specifically).

      18.Prior to 1990, New Jersey had regulated the use, possession, and manufacture

         of firearms within its jurisdiction. Around that time, in Stockton, California,

         a gunman armed with an AK-47 and handgun killed five children and

         wounded thirty-three others at an elementary school. (ECF No. 183-2 at 3).

      19.This incident prompted legislative action. In 1990, New Jersey modified its

         existing statutory framework to enact the assault firearms prohibition at P.L.


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         1990, (ECF No. 183-2 at 3). The signing statement for Public Law 1990

         signed by then-Governor Jim Florio discussed the capacity of the prohibited

         firearms to cause mass destruction and pose a threat to police, citizens, and

         children. (ECF No. 183-2 at 3). This law was retitled and has become lmown

         now as the "Assault Firearms Law."

      20.Effective May 1, 1990, the Assault Firearms Law prohibited an enumerated

         list of "assault :firearms." The Assault Firearms Law lists sixty-six semi-

         automatic rifles and shotguns. P.L. 1990, Ch. 32 (West); see also N.J. Stat.

         Ann§ 2C:39-l(w)(l).

      21. Within that law, the term "assault firearm" is defined broadly and

         encompasses numerous categories. The law enumerates more than sixty

         weapons that constitute assault firearms including but not limited to:

              • any shotgun with a revolving cylinder such as the "Street Sweeper"
                or "Striker 12";
              • Beretta AR-70 and BM59 semi-automatic firearms;
              • Bushmaster Assault Rifle;
              • Colt AR-15 and CAR-15 series;
              • Galil type
              • Heckler and Koch HK.91, HK93, HK94, MPS, and PSG-1;
              • the Ruger K-Mini-14/5F and Mini-14/SRF;
              • the Springfield Armory BM59 and SAR-48 type;
              • the USAS 12 semi-automatic type shotgun; and
              • Uzi type semi-automatic :firearms.

         P.L. 1990, Ch. 32 (West); see N.J. Stat. Ann. § 2C:39-l(w)(l) (West 2024).



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      22.In addition to this enumerated list, the Assault Firearms Law includes a

         catchall provision which broadens its impact. The Assault Firearms Law

         states that it applies to "[a]ny firearm manufactured under any designation

         which is substantially identical to any of the firearms listed above[.]" P.L.

         1990, Ch. 32 (West); see N.J. Stat. Ann. § 2C:39-l(w)(2) (West 2024)

         (emphasis added).

      23.This "substantially identical" language caused some confusion. To clarify,

         Attorney General Peter Verniero explained "substantially identical" in an

         August 1996 letter entitled: "Guidelines Regarding Substantially Identical

         provisions in The State's Assault Firearms Law" (hereinafter, the

        "Guidelines").     The Guidelines defined and subdivided "substantially

         identical" firearms into three categories of semi-automatic weapons.

     24.As stated by the Guidelines:

        A semi-automatic firearm should be considered to be "substantially
        identical," that is, identical in all material respects, to a named assault weapon
        if it meets the below listed criteria:
           A. semi-automatic rifle that has the ability to accept a detachable magazine
               and has at least 2 of the following:

             1. a folding or telescoping stock;
             2. a pistol grip that protrudes conspicuously beneath the action of the
                weapon;
             3. a bayonet mount;
             4. a flash suppressor or threaded barrel designed to accommodate a
                flash suppressor; and
             5. a grenade launcher;


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           B. a semi-automatic pistol that has an ability to accept a detachable
              magazine and has at least 2 of the following:

              1. an ammunition magazine that attaches to the pistol outside of the
                 pistol grip;
              2. a threaded barrel capable of accepting a barrel extender, flash
                 suppressor, forward handgrip, or silencer;
              3. a shroud that is attached to, or partially or completely encircles, the
                 barrel and that permits the shooter to hold the firearm with the
                 nontrigger hand without being burned;
              4. manufactured weight of 50 ounces or more when the pistol is
                 unloaded; and
              5. a semi-automatic version of an automatic firearm; and,

           C. a semi-automatic shotgun that has at least 2 of the following:

              1. a folding or telescoping stock;
              2. a pistol grip that protrudes conspicuously beneath the action of the
                 weapon;
              3. a fixed magazine capacity in excess of 5 rounds; and
              4. an ability to accept a detachable magazine.

         Assault Firearms Guidelines Regarding the (<Substantially Identical"

         Provision in the State's Assault Firearms Laws, issued August 19, 1996, N.J.

         DIV. OF CRIMINAL JUSTICE, https://perma.cc/M7GZ-CWX3 (last visited June

         21, 2024).

      25. The Assault Firearms Law also contained a provision that criminalized the

         possession of what it calls a "large capacity ammunition magazine."

         Originally, this was defined to include "a box, drum, tube or other container

         which is capable of holding more than 15 rounds of ammunition to be fed




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         continuously and directly therefrom into a semiautomatic firearm." See P.L.

         1990, Ch. 32 (West); N.J. Sess. Law Serv. Ch. 39. (West).

      26.In 1994, Congress passed a statute regulating magazine capacity. The Public

         Safety and Recreational Firearms Use Protection Act (hereinafter, the "Act")

         prohibited the manufacture of magazines capable of holding more than ten

         rounds of ammunition. See Pub.L.No. 103-322, tit. XI, sub tit. A, § 110103,

         108 Stat. 1796, 1998-2000 (1994). The Act contained a sunset provision in

         2004. Congress did not renew this law.

      27.On June 7, 2018-and effective June 13, 2018-the Assault Firearms Law

         was modified with an amendment (hereinafter, the "LCM Amendment")

         which amended the threshold at which a magazine qualifies as large capacity.

        P.L. 2018, c. 39 § 1; see also N.J. Stat. Ann.§§ 2C:39-l(y), 2C:39-3G), N.J.

        Stat. Ann. § 2C:39-20(a).

     28. This threshold was now ten rounds of ammunition. The logic behind the

        LCM Amendment was to reduce the number of fatalities in a mass shooting.

        The idea was that, since changing a magazine takes time to accomplish,

        lessening the number of rounds that a magazine could hold would allow more

        interim periods at which victims could move to safety. Note that the LCM

        Amendment does not impose any limitations on the number of compliant




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          magazines that a person can purchase or own; it restricts only the capacity of

          the magazine to ten rounds. 15

       29. These changes also provided exceptions for certain firearms purchased

          before the LCM Amendment's effective date-specifically, for (1) firearms

          with a "a fixed magazine capacity holding up to 15 rounds which is incapable

          of being modified to accommodate 10 or less rounds;" or for firearms (2)

          "which only accept[] a detachable magazine with a capacity of up to 15

          rounds which [are] incapable of being modified to accommodate 10 or less

          rounds[]." N.J. Stat. Ann. §§ 2C:39-20(a)l, 2C:39-20(a)2 (West 2024).

       30. A mass shooting is generally considered a shooting event where "four or

          more people were killed in a public place in one incident, excluding incidents

          [where another] ... criminal activity such as a robberf' was occurring. (ECF

          No. 17 6-1 at 23 ). While the number of the mass shootings that have occurred

          within the past forty years is not precisely quantified, some sources have

          counted the number of mass shootings between 1982 and 2022 as having

          ranged from anywhere from 112to317. (ECFNo. 176-1 at23-26).

       31.This alarming frequency aside, in an analysis of these mass shooting events,

          experts presented evidence that large capacity magazines and "assault



  15Other LCM Amendment restrictions are not pertinent to the question before the
  Court today.
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         weapons" were often used in mass shootings; that injuries and fatalities were

         higher in mass shooting incidents involving "assault weapons and/or large­

         capacity magazines" and that it was "common for offenders to fire more than

        10 rounds when using an assault weapon or large-capacity magazine in mass

         shootings." (E.g., ECF No. 176-1 at 7; ECF No. 176-1 at 27-2 8; see also

        176-1 at270).

     32 .Overall, the deadliest acts of intentional criminal violence within the United

        States since September 11, 2001 have been mass shootings. (ECF No. 176- 1

          at 268). Just within the last seven years, these mass shootings include the

         following events. There was the mass shooting in Uvalde, Texas on May24,

        2022 where twenty- one people were murdered. (Id.). There was also the

         mass shooting in El Paso, Texas on August 3, 201 9 where twenty- three

         people were murdered. There was the mass shooting in Sutherland Springs,

         Texas on November 5, 2017 where twenty-five people were killed. There

         was also the mass murder of sixty people in Las Vegas, Nevada on October

        1, 2017. (Id.).

      33 .Evidence has been presented to the Court to suggest that in recent years, these

         incidents are increasing both in frequency and in lethality. (E.g., ECF No.

         176-1 at269;ECFNo.176-1 at30-31).




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         D. Supreme Court Jurisprudence 16

         Within the past several years, the Second Amendment and corresponding

   analysis undertaken by the courts has been in flux. The Court sum1narizes the

   decisions that have shaped today's standard below.

                a. District of Columhi<t v. Heller

         In 2008, the Supreme Court forinulated a new standard for a Second

   Atnendment analysis in District of Columbia v. Heller, 554 U.S. 570 (2008). When

   the case underlying the Heller decision was initially filed, the District of Columbia

   imposed a general prohibition on the possession of handguns upon its residents. Id

   at 574. The plaintiff in Heller was a special police officer who was authorized to

   carry a handgun while on duty, yet he was unable to legally keep a handgun in his

  home located within the District of Columbia. Id. at 575.

         In holding that the Second Amendment protects an individual's right to

  possess firearms and that the complete prohibition on the possession of handguns

  within the District of Columbia violated the Second Amendment, the Court held that



   16
     The United States Supreme Court recently held that the Bureau of Alcohol,
  Tobacco, Firearms and Explosives "exceeded its statutory authority by issuing a
  Rule that classifies bump stocks as machine guns." Garland v. Cargill, 602 U.S.
  406,415 (2024). The Cargill opinion makes no 1nention of the Second Amendment,
  Heller, or Bruen. And although the Dissent does mention McDonald (specifically,
  Justice Thomas' concurrence), it does so in the context of discerning legislative
  purpose and contemporaneous understandings. Id. at 437 (Sotomayor, J.,
  dissenting). Accordingly, the Court does not include Cargill in its analysis.
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  "a prohibition of an entire class of 'arms' that is overwhelmingly chosen by

  American society for [a] lawful purpose," i.e., "self-defense in the home," must "fail

  constitutional muster." Id. at 628-29. In addition, the Court held that "[i]t [was] no

  answer" to suggest that a regulation prohibiting an entire class of arms is permissible

  "so long as the possession of other firearms ... is allowed." The Court stated that

  the "complete prohibition of [handguns] is invalid." Id. at 629. The Court concluded

  that "the enshrinement of constitutional rights necessarily takes certain policy

  choices off the table[,]" including "the absolute prohibition" of commonly-owned

  arms "held and used for self-defense in the home." Id. at 636.

        Acknowledging public safety concerns, the Heller Court tempered its holding

  with the caveat that "the right secured by the Second Amendment is not unlimited."

  Id. at 626. The Court provided a "list [of presumptively lawful regulatory measures

  that] d[id] not purport to be exhaustive," such as "prohibitions on the possession of

  firearms by felons and the mentally ill, or laws forbidding the carrying of firearms

  in sensitive places such as schools and government buildings, or laws imposing

  conditions and qualifications on the commercial sale of arms." Id. at 626-27 n.26.

  The Court "also recognize[d] another important limitation on the right to keep and

  carry arms," that being "prohibiting the canying of 'dangerous and unusual

  weapons."' Id. at 627 (internal citations omitted).

               b. McDonald v. City of Chicago

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         The Supreme Court again addressed the issue of the Second Amendment in

  McDonald v. City of Chicago, 561 U.S. 742 (2010) (plurality opinion). There, in

   finding that the Fourteenth Amendment incorporated the Second Amendment right

  to keep and bear arms recognized in Heller, the Supre1ne Court elucidated the

   standard set forth in Heller. Id. at 791.

         In addressing the question of whether the Second Amendment right to keep

  and bear arms is incorporated into the concept of due process, McDonald noted that

  Heller pointed to the answer, stating that "[s]elf-defense is a basic right, recognized

  by 1nany legal systems from ancient times to the present day, and ... that individual

  self-defense is 'the central component' of the Second Amendment right." Id. at 767

  (emphasis in the original).

         Overall, McDonald wrote that the right to keep and bear anns was among the

  "fundamental rights necessary to our system of ordered liberty." Id. at 778. In

  noting this, McDonald reiterated the central holding in Heller: "that the Second

  Amendment protects a personal right to keep and bear arms for lawful purposes,

  most notably for self-defense within the home." Id. at 780.

         However, McDonald noted the limitations of Heller's holding, stating that

  "while striking down a law that prohibited the possession of handguns in the home,

  [Heller] recognized that the 1ight to keep and bear arms [was not] 'a right to keep

  and carry any weapon whatsoever in any manner whatsoever and for whatever


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  purpose."' Id. at 786 (quoting Heller, 554 U.S. at 626). McDonald noted that the

  Heller holding "did not cast doubt" on certain "longstanding regulatory measures"

  on firearm possession or use such as those laid out by the court in Heller. Id. at 786

  (quoting Heller, 554 U.S. at 626-27).

                c. New York State Rifle & Pistol Association, Inc. v. Bruen

        Between 2008 and 2022, the Courts of Appeal had developed a means-end

  scrutiny approach to the Second Amendment analysis. This Second Amendment

  means-end scrutiny approach was rejected by the Supreme Court in New York State

  Rifle & Pistol Association, Inc. v. Bruen. 597 U.S. 1, 24 (2022). In rejecting this

  approach, Bruen reiterated the holdings of Heller and McDonald: that "the Second

  and Fourteenth Amendments protect the right of an ordinary, law­abiding

  citizen to possess a handgun in the home for self-defense." Bruen, 597 U.S. at 8.

        Bruen examined a challenge to a New York law that, inter alia, limited the

  issuance of an "unrestricted license to 'have and carry' a concealed 'pistol or

  revolver][,]"' and to secure such a license, an applicant must demonstrate a '"proper

  cause' exist[ed] to issue it." 597 U.S. at 11-15. The two named plaintiffs in Bruen

  were law-abiding adult citizens of Rensselaer County, New York; each had

  applied for an unrestricted license to carry a handgun in public. Id. at 15-16.

  These applicants did not claim any unique danger to personal safety and only

  wanted to carry a handgun for self-defense. Id. Both of their applications were

  denied. Id.
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   The Court held that the proper-cause require1nent violated the Constitution, in that

   it "prevent[ed] law-abiding citizens with ordinary self-defense needs from

   exercising their right to keep and bear arms." Id. at 71.

         In deciding this, the Court set forth a new standard for applying the Second

   Amendment. It is as follows:
          When the Second Amendment's plain text covers an
          individual's conduct, the Constitution presumptively protects that
          conduct. The government must then justify its regulation by
          demonstrating that it is consistent with the Nation's historical
          tradition of firearm regulation. Only then may a comt conclude
          that the individual's conduct falls outside the Second Amendment's
          "unqualified command."
  Id. at 24 (quoting Konigsberg v. State Bar of Cal., 366 U.S. 36, 50 (1961)). The

   Court stated that this standard "requires courts to assess whether mode1n firearms

  regulations are consistent with the Second Ainendment's text and historical

  understanding." Id. at 26. Justice Thomas further explained: "In some cases that

   inquiry will be fairly straightfo1ward. For instance, when a challenged regulation

  addresses a general societal problem that has persisted since the 18 th centmy, the lack

   of distinctly similar historical regulation addressing that problem is relevant evidence

  that the challenged regulation is inconsistent with the Second Amendment." Id. at

  26-27. The Court noted that Heller exemplified such a case, where handgun

  possession was totally banned within the home. Id. at 27.

         The Bruen Court reiterated that Heller had made clear that "the right secured

  by the Second Ainendment is not unlimited," and that certain restrictions may still
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  be imposed on arms. Id. at 21. Further, the Court noted that current regulations may

  implicate either "unprecedented societal concerns" or "dramatic technological

  changes" different from those that existed when the Second Amendment was ratified

  in 1791 or when the Fourteenth Ainendment was ratified in 1868. Id. at 27. In those

  circumstances, "a more nuanced approach" to determine if historical regulations are

  "relevantly similar" to the currently challenged regulations must be utilized based

  on two measurements: "how and why the regulations burden a law-abiding citizen's

  right to armed self-defense." Id. at 29.

               d. United States v. Rahimi

        The Supreme Court addressed its previous holdings within the context of an

  individual that posed a credible threat to the physical safety of another in Rahimi.

  United States v. Rahimi, 144 S.Ct. 1889 (2024). There, the Supreme Court examined

  whether a federal statute that prohibits individuals who are the subject of a domestic

  violence restraining order that includes a finding that that individual represents a

  credible threat to the physical safety of another from possessing a firearm violated

  the Second Amendment. Id. at 1894. The Court held that the statute did not violate

  the Second Amendment, finding that where an individual had been found by a court

  to pose a credible threat to the physical safety of another, that individual may be

  temporarily disarmed consistent with the Second Amendment. Id. at 1896.



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         In holding this, the Court reiterated the appropriate analysis as laid out in

  Bruen. Id. at 1897. The Court also noted that its precedents "were not meant to

   suggest a law trapped in amber. As we explained in Heller, for exatnple, the reach

  of the Second Ainendment is not limited only to those aims that were in existence at

  the founding." Id. (citations omitted).

               e. Procedural History

         It is against this backdrop of Supreme Court jurisprudence that the procedural

  history of this case is set forth. The issues before the Court today are not new as

  they relate to the LCM Amendment. The LCM Amendment's constitutionality was

  litigated before me in 2018 at the preliminary injunction stage. (ECF No. 74). The

  preliminary injunction was denied. Ass 'n ofNew Jersey Rifle & Pistol Clubs, Inc.

  v. Grewal, No. 17-cv-10507, 2018 WL 4688345, at *1 (D.N.J. Sept. 28, 2018), aff'd

  sub nom. Ass 'n of New Jersey Rifle & Pistol Clubs, Inc. v. Atty Gen. New Jersey,

  910 F.3d 106 (3d Cir. 2018) (hereinafter, "ANJRPC I").

         In denying the preliminaty injunction, I relied on the four-part test set f01ih

  by the Third Circuit. See ANJRPC I, 2018 WL 4688345, at *8 (citing Reilly v. City

  of Harrisburg, 858 F.3d 173, 176 (3d Cir. 2017)). Under the first step of the

  preliminary injunction analysis-whether the moving party has a reasonable

  probability of success on the merits-I found, inter alia, that, (1) under the pre-

  Bruen means-end scrutiny standard, the LCM Amendment did not infringe on the


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  Second An1endment constitutional rights of citizens, and (2) the LCM An1endment

  did not present an unconstitutional taking under the Fifth Amendment. Id. at *8-

  * 16. My decision was affirmed on appeal, where the Third Circuit found on the

  merits that the LCM Amendment, inter alia,        (1) did not violate the Second

  Amendment under the pre-Bruen standard and (2) did not constitute a taking under

  the Fifth Amendment. Ass'n a/New Jersey Rifle & Pistol Clubs, Inc. v. Att)1 Gen.

  New Jersey, 910 F.3d 106, 124 (3d Cir. 2018), abrogated by New York State Rifle &

  Pistol Ass 'n, Inc. v. Bruen, 597 U.S. 1 (2022) (hereinafter, "ANJRPC II"). In

  deciding this issue, the Third Circuit analyzed the LCM Amendment under the first

  step of Heller and then, after finding that the Second An1endment applied to LCM

  Amendment, found the LCM Amendment survived intermediate scrutiny. ANJRPC

  II, 910 F.3d at 116. The Third Circuit also analyzed ANJRPC II plaintiffs' takings

  claims under the Fifth Amendment, and it affirmed my decision that the LCM

  Ainendment was neither an actual nor a regulatory taking. ANJRPC II, 910 F.3d at

  124.

         Around a year later in July 2019, several motions for summary judgment came

  before me as well as a cross-motion for summmy judgment on the constitutionality

  of the LCM Amendment. (See ECF No. 101). In granting summmy judgment for

  State Defendants, I explained the following:

         The Court recognizes that a different standard applies here-at the
         summmy judgment stage-than applied on the petition for preliminary
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           injunction. However, the Third Circuit has issued a precedential
           decision that resolves all legal issues in this case and there re1nains no
           genuine disputes of material fact. More specifically, the Third Circuit
           explicitly held that the New Jersey law "does not" violate "the Second
           Amendment, the Fifth Amendment's Takings Clause, and the
           Fourteenth Amend111ent's Equal Protection Clause." Therefore,
           because it is binding Third Circuit precedent that the New Jersey law is
           constitutional, the Court shall grant Defendants' motions for summary
           judgment          and        deny         Plaintiffs'       cross-motion.

  Ass'n of New Jersey Rifle & Pistol Clubs, Inc. v. Grewal, No. 18-cv-10507, 2019

  WL 3430101, at *3 (D.N.J. July 29, 2019), aff'd sub nom. Ass'n ofNew Jersey Rifle

  & Pistol Clubs Inc. v. Att'y Gen. New Jersey, 974 F.3d 237 (3d Cir. 2020), cert.

  granted, judgment vacated sub nom., Ass 'n ofNew Jersey Rifle & Pistol Clubs, Inc.

  v. Bruck, 142 S. Ct. 2894 (2022). The Third Circuit affirmed my decision again, not

  reaching the question of the constitutionality of the LCM Atnendment since it read

  that the previous panel's decision in ANJRPC II as binding. 17 Ass 'n ofNew Jersey

  Rifle & Pistol Clubs Inc. v. Att'y Gen. New Jersey, 974 F.3d 237,240 (3d Cir. 2020),

  cert. granted, judgment vacated sub nom. Ass 'n ofNew Jersey Rifle & Pistol Clubs,

  Inc. v. Bruck, 142 S. Ct. 2894 (2022) (hereinafter, "ANJRPC llf > ).




  17
       Specifically, the Third Circuit explained:
         The plaintiffs have now appealed again, arguing that the District Court
         erred in treating the prior panel's opinion as binding and arguing again
         that the Act is unconstitutional. Because they are wrong on the first point,
         we do not reach the second. We will affinn.

  ANJRPC Ill, 974 F.3d at 240.
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        In 2022, the Supre1ne Court repudiated means-end scrutiny analysis in the

  Second Amendment context in Bruen. On June 30, 2022, the Supreme Court granted

  the writ of ee1tiorari for the plaintiffs in ANJRPC fll. The Supreme Court vacated

  the judgment in ANJRPC fll and remanded the case back to the Third Circuit "for

  fu1ther consideration in light of New York State Rifle & Pistol Assn., Inc. v. Bruen."

  Ass 'n ofNew Jersey R(fle & Pistol Clubs, Inc. v. Bruck, 142 S. Ct. 2894 (2022). The

  Third Circuit, in turn, remanded to the case back to me "for [a] decision in the first

  instance under the standard announced in Bruen .... " (Third Circuit Docket No.

  19-3142, ECF No. 147-1).

        While the lead case was ongoing throughout this time period, the member

  cases before the Court today were initiated after the Bruen decision. The complaint

  in Cheeseman et al. v. Platkin et al. was filed on June 30, 2022. (No. 22-cv-04360

  at ECF No. 1). Similarly, the complaint in the other member case, Ellman et al. v.

  Platkin et al., was filed on July 1, 2022 (No. 22-cv-04397 at ECF No. 1),

        These cases were consolidated for discovery in an order entered on February

  6, 2023. (ECF No. 148). Discovery concluded on August 31, 2023. In an order

  dated September 11, 2023, I ordered the extended consolidation of these cases

  through the resolution of the Daubert and Summary Judgment Motions. (ECF No.

  168). Accordingly, before the Comt today are issues from all three of these cases.

                                            V.


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        Before the Court today are two separate issues: whether the AR-15 Provision

  within the Assault Firearms Law is unconstitutional and whether the LCM

  Amendment is unconstitutional. The Court first lays out the Bruen standard before

  addressing each constitutional challenge below.

        A. Bruen Standard

        As previously mentioned, the Supreme Court in Bruen repudiated a means-

  end test, and it provided the lower courts with a new standard. The Third Circuit

  recently outlined this test in Lara. See Lara v. Comm 'r Pennsylvania State Police, .

  91 F.4th 122, 129 (3d Cir. 2024).

        The Third Circuit explained the first step of Bruen as where the ''court

  determines whether 'the Second Amendment's plain text covers an individuaPs

  conduct.' ... That 'textual analysis' focuse[s] on the 'normal and ordinary' meaning

  of the Second Amendment's language .... If the text applies to the conduct at issue,

  'the Constitution presumptively protects that conduct."' Lara, 91 F .4th at 129

  (internal marks and citations omitted). There are several limitations to this right,

  however. These are that the arm must be in ''common use'' and it must not be

  "dangerous and unusual." See Heller, 554 U.S. at 627-28.          What constitutes

  common use is not clear under relevant Supreme Court precedent at the present time.

        Assuming an arm falls within the plain text of the Second Amendment, the

  Court proceeds to the second step of the analysis. Here, "a court determines whether


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  the regulation in question 'is consistent with the Nation's historical tradition of

  firearm regulation.' ... If it is, the presumption made at the first step of Bruen is

  overcome, and the regulation in question can stand." Id.        (internal marks and

  citations omitted).   The Third Circuit explained that in this second step, "the

  government bears the burden of identifying a 'founding-era' historical analogue to

  the modern firearm regulation." Id. (citations omitted). The Third Circuit further

  explained that in this analysis we "are to look to the founding because

  ' [c]onstitutional rights are enshrined with the scope they were understood to have

  when the people adopted them."' (citations omitted). With respect to relevant

  precedent, the Third Circuit explained that "[t]he question is 'whether historical

  precedent from before, during, and even after the founding evinces a comparable

  tradition of regulation[,]"' and that co mis should "discount '[h]istorical evidence

  that long predates' 1791 and 'guard against giving postenactment history more

  weight than it can rightly bear."' Id. This analysis requires a comi to consider the

  "'how and why the regulations [being compared] burden a law-abiding citizen's

  right to armed self-defense."' Id. (citations omitted).

        B. AR-15 Provision of the Assault Firearms Law




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         Plaintiffs challenge the Assault Firearms Law 18 as unconstitutional. For the

  reasons stated previously, this analysis focuses on the AR-15 Provision of the

   Assault Firearms Law. Under Heller, while the Supreme Court stated that the

   Second Atnendment right is not unlimited, the Supre1ne Court forbade a complete

  prohibition on a class of gun ownership. See 554 U.S. at 628-29, 636 (holding the

   absolute prohibition of an "entire class of 'arms "' that is widely utilized for the

  lawful purpose of self-defense is impermissible). Guided by this decision, and for

  the reasons below, the AR-15 Provision of the Assault Firearms Law which prohibits

  the use of the Colt AR-15 for the use of self-defense within the home does not pass

  constitutional muster when applying the Bruen standard,

         To the first step of the Bruen analysis, whether the Second Atnendment' s plain

  text covers Plaintiffs' proposed course of conduct-the possession and use of AR-

   15s within the home for self-defense-the answer is yes. Following the guidance

  set fmth in Heller and reiterated in Bruen, the plain text of the Second Amendlnent

  covers the individual conduct at issue here. As the Supreme Court discussed in

  Bruen, the Second Atnendment confers the right to an individual to bear arms "'upon



  18 The law as enacted by the New Jersey Legislature is entitled the "Assault Fireanns

  Law." The pejorative nature of this title was raised in the briefing. (ECF No. 174-
   1 at 30-35; ECF No. 175-7 at 9). Without deciding this issue, the Court notes that
  the charged language in the phrase "assault firearms" frustrates the Comt's role in
  evaluating the constitutionality of a challenged law under Bruen and appears
  to criminalize the user of an "assault firearm" from the outset.
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  the person or in the clothing or in a pocket, for the purpose . . . of being armed and

  ready for offensive or defensive action in a case of conflict with another person.'"

  Bruen, 597 U.S. at 32 (citations omitted). The right to bear aims within the home

  was central to the understanding of"keep and bear" arms. See Heller, 554 U.S. at

  628-35. Although .Heller and Bruen treated handguns and not semi-automatic

  weapons, the applicability of the Second Amendment's text to the question before

  the Court appears to already have been answered by those same decisions. Heller,

  554 U.S. at 605-26; Bruen, 597 U.S. at 32-33.

        In c01nbatting this conclusion, State Defendants appeal to one of the

  limitations of the Second Amendment right. Specifically, State Defendants ai·gue

  that AR-15s are not in common use today for self-defense and are therefore not

  covered by the Second Amendment. (ECF No. 183-1 at 36-55). This argument

  draws upon language in Heller which explained that the right to keep ai1d carry arms

  was limited to "the sorts of weapons protected were those 'in common use at the

  time."' lleller, 554 U.S. at 627 (citations omitted).

        What the Supreme Court meant by "common use" is not exactly clear. Indeed,

  the litigants in this case have differing views as to what the Supreme Court meant.

  As is relevant here, the State Defendants appear to ask the Court to use a eom1non

  use standard that grafts (1) common use with (2) a lawful purpose along with (3)

  evidence of the total number of self-defense incidents involving the relevant firearm

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  in question. This analysis would also consider ( 4) the characteristics of the firea11n

  itself and its usefulness for self-defense. (See ECF No. 183-1 at 42-55; Apr. 11,

  2024 Tr. 49:02-50: 17). Plaintiffs, on the other hand, would have the Court read the

  common use requirement as a requirement that hinges on possession-that is to say,

  that "com1non use" is satisfied by showing that the number of weapons in circulation

  is high. (E.g., Apr. 11, 2024 Tr. 22:02-26:03; id. at 29:20-31 :17; ECF No. 174-1 at

  35-40).

        To the Court, the answer appears to be somewhere in the middle. 19

  Understanding our Nation's historical tradition as one where the right to keep and

  bear arms was integrally linked with the Founding era fear of disarmament faced by

  the American colonists in the face of governmental oppression, the right to keep and

  bear arms seems to be inherently connected with an understanding of the lawful

  purposes of keeping those same arms. Heller, 554 U.S. at 579-605; see also

  Delaware State Sportsmen's Ass 'n, Inc. v. Delaware Dep 't of Safety & Homeland



  19
    Earlier this month, Judge Roth addressed the common use test in her concurrence
  in Delaware State Sportsmen's Ass 'n, Inc. v. Delaware Dep 't ofSafety & Homeland
  Sec., No. 23-1633, 2024 WL 3406290 (3d Cir. July 15, 2024) (Roth, J., concurring).
  Judge Roth stated that she believed the common use test should hinge upon whether
  a weapon was in "com1non use today for self-defense," and she pointed to several
  metrics, including "a weapon's objective suitability for self-defense and whether [a
  weapon] is commonly used in self-defense." Id. at * 13 (Roth, J., concurring).
  Overall, Judge Roth stated that "a weapon is in common use for self-defense if
  evidence shows it is (1) well adapted for self-defense and (2) widely possessed and
  e1nployed for self-defense." Id.
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  Sec., 664 F. Supp. 3d 584, 593-94 (D. Del. 2023), ajf'd, No. 23-cv-1633, 2024 WL

  3406290 (3d Cir. July 15, 2024) (noting the disagreement within the jurisprudence

  with respect to the definition of "common use,'' and that the Delaware State

  Sportsmen's Association court's sense was that the "'in common use' inquiry turns

  on whether a regulated weapon is '"in common use' for self-defense."); Vermont

  Federation of Sportsmen's Clubs, et al., v. Birmingha m, et al., No. 2:23-cv-710,

  2024 WL 3466482, at *8 (D. Vt. July 18, 2024) (noting that '"common ownership'

  is different from 'common use for self-defense'"). This requirement, however, does

  not appear to have a threshold nmnber that Plaintiffs must meet to show that a

  weapon is in common use for self-defense.

        Thus, when undertaking this cormnon use for lawful pmposes inquiry, the

  Comt fin ds that Plaintiffs have satisfied their burden with respect to the AR-15.

  Plaintiffs have shown that the weapon is "overwhelmingly chosen by American

  society for [a] lawful purpose." Heller, 554 U.S. at 628. AR-15 firearms are

  produced by a multitude of manufacturers and are commonly owned throughout the

  United States-it is estimated that as of 2022, AR-15s and similar spotting rifles20

  had around 24 million owners; this ownership number was exceeded only by the

  number of re.gistered handgun owners within our Nation. As of 2022, it was



  20
    Although the litigants discuss "sporting rifles,'' the precise scope of what sporting
  rifles entailed was not defined in the briefing.
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   estimated that there were around 24 1nillion AR-15s and similar sports weapons in

   circulation; this number was exceeded only by the number of registered handgun

   owners within the United States. (ECF No. 174-1 at 37; ECF No, 175-5 at 14-15

  (estimating that as of 2018, there are between five million and ten million AR-15

   rifles in civilian hands within the United States); see also Nicholas J. Johnson,

  Supply Restrictions at the Margins of Heller and the Abortion Analogue, 60

  HASTINGS L.J. 1285, 1296 (2009) (noting that in 2009, a year after Heller, that the

  AR-15 was the best-selling rifle type within the United States).

         Further, Plaintiffs have shown that AR-1 Ss are well-adapted for self-defense.

  Evidence has been presented to the Court that the build of the AR-15 makes it well-

  suited to self-defense because it is "light weight, [has] very mild recoil, and [has]

  good ergonomics[;r' it is a weapon which is "well suited to younger shooters, female

  shooters, and other shooters of s1naller stature , ... " (ECF No. 184-3 at 101).

  Further, the AR-15's design features-including the effectiveness of its cartridge for

  self-defense use and its better continuity of fire when used with available

  magazines-make the AR-15 a good choice for self-defense. (Id.). Plaintiffs have

  also shown that the AR-15 is used-or would be used should it be permitted to be

  used in New Jersey-for self-defense. (pee ECF No. 175-8 at ,r 7; ECF No. 175-8

  at ,r 16; ECF No. 174-7 at ,r,r 18-19; ECF No. 175-8 at 122). Plaintiffs have shown

  that the AR-15 has been used recently in several, relatively high-profile self-defense


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  events in Florida, Illinois, Texas, Pennsylvania, and Oklahoma. (ECF No. 175-5 at

  105-12, 120-26).

         In this inquiry, the State Defendants would also have the Court draw a

  distinction between handguns and the AR-15 based upon the fact that handguns are

  more popularly used for self-defense than AR-15s. State Defendants argue that

  "handguns are far and away the 1nost commonly used firearm for self-defense,

  accounting for 41 % of all repmted cases of defensive gun use, and 90% of cases in

  which the firearm type was known.'' (ECF No. 183-1 at40). To the Court, it appears

  that the State Defendants are asking the Comt to engage in the weighing of empirical

  data to draw a line and say what is "commonly used" based upon their argument that

  the AR-15 is not the quintessential self-defense weapon within the home; such line

  drawing exercises teeter on the edge of asking the Court to make the difficult

  "e1npirical judgments regarding firearm regulation" that the courts were undertaking

  prior to Bruen. It is not this Court's place to do so. 21 Plaintiffs need not show that


  21   As the Bruen Court explained:
         If the last decade of Second Amendment litigation has taught this Court
         anything, it is that federal courts tasked with making such difficult
         empirical judgments regarding firearm regulations under the banner of
          'intermediate scrutiny' often defer to the determinations of legislatures.
         But while that judicial deference to legislative interest balancing is
         understandable-and, elsewhere, appropriate----it is not deference that
         the Constitution demands here. The Second Amendment "is the very
         product of an interest balancing by the people" and it "surely elevates
         above all other interests the right of law-abiding, responsible citizens to
         use arms" for self-defense.
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   AR-l 5 s are the most popular weapon for defensive gun use in circulation in order to

   show they are commonly used for a lawful purpose; they need only show that it is

   commonly used for a lawful purpose. Where the clear language of Heller states that

   the Second .Amendment's right to self-defense is "most acute" within the home, the

   dictates of the Supreme Court on this matter are clear: the banning of this firearm

   for self-defense within the h01ne where it is a firearm that has been shown to be

   commonly used for a lawful purpose is unpermitted. 22

         The Court proceeds to the second step in the Bruen analysis, which is

   "whether the regulation in question 'is consistent with the Nation's historical

  tradition of firearm regulation.' ... If it is, the presumption made at the first step of



  Bruen, 597 U.S. at 26.
  22
     The question of whether AR-15s are most useful in military service and therefore
  may be banned without infringing the Second Amendment right was not fully
  addressed in the briefing. Heller, 554 U.S. at 627. State Defendants argued in their
  brief that the AR-15 is a near identical copy of a military style weapon, the M-16,
  and was developed by the U.S. Military during the Vietnain War for use against the
  Vietcong. (ECFNo.183-1 at43;seealsoApr, 11,2024Tr.at70:01-71:22). State
  Defendants argue further that the AR-15 caused "catastrophic injuries" (Id.).
  Plaintiffs do not address this point directly, instead pointing out that AR-15s are
  commonly used for self-defense and are possessed by many law-abiding individuals.
  (ECF No. 193 at 30-41). At oral argument, Plaintiffs argued that the common use
  test overcomes the dangerous and unusual categmy under Heller. (Apr. 11, 2024
  Tr. 30:4-10). The evidence before the Court on this category under Heller is
  insufficient to show that it is a weapon most-suited to military use. The Court was
  provided with evidence only that the AR-15 was developed from what was originally
  a military-style weapon during the Vietnam War. This evidence alone is insufficient
  to show that a weapon is "most useful in military service" as described in Heller.

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  Bruen is overcome, and the regulation in question can stand." Lara, 91 F.4th at 129

  (internal marks and citations omitted). The AR-15 Provision cannot stand since it is

  inconsistent with our Nation's historical tradition of firearm regulation.         Most

  importantly-and without even undertaking the analytical dive into the historical

  analogues provided to the Court-this decision is supported by the plain text of

  Heller. As the Supreme Court stated in Heller with respect to the handgun ban in

  that case:

         [T]he inherent right of self-defense has been central to the Second
         Amendment right. The handgun ban amounts to a prohibition of an
         entire class of "arms" that is overwhelmingly chosen by American
         society for that lawful purpose. The prohibition extends, moreover, to
         the home, where the need for defense of self, family, and property is
         most acute. Under any of the standards of scrutiny that we have applied
         to enumerated constitutional rights, banning from the home "the most
         preferred firearm in the nation to 'keep' and use for protection of one's
         home and family," . . .            would fail constitutional muster.

  Heller, 554 at 630 (internal citations omitted). Like in Heller, the Assault Firearms

  Law's AR-15 Provision acts effectively as the total prohibition on a commonly used

  firearm for self-defense-AR-15s-within the home; the text of New Jersey's

  Assault Firearms Law prohibiting a list of sixty-six weapons, including the Colt

  AR-15 defined in the AR-15 Provision. N.J. Stat. Ann§ 2C:39-l(w) (West 2024).

  The AR-15 Provision is impermissible under the plain text of Heller.

        Undertaking the historical analogue analysis leads to the same conclusion.

  State Defendants put f01ih evidence that similar weapons have historically been


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  regulated, including but not limited to trap guns, gunpowder, Bowie lmives,

  slungshots, and clubs. (ECF No. 183-1 at 69-76). However, these cmnparisons are

  unavailing given a single fact: New Jersey's AR-15 Provision constitutes a

  complete ban on a class of fireanns that is cmnmonly-used for self-defense.

  Just because there are some firearms available under New Jersey's statutory

  schetne23 does not change this conclusion since Heller was clear on this point:

        It is no answer to say ... that it is pe1missible to ban the possession of
        [a weapon] so long as the possession of other firearms ... is allowed..
        It is enough to note, as we have observed, that the American people
        have considered the handgun to be the quintessential self-defense
        weapon.

  Heller, 554 U.S. at 629. Thus, in this Court's understanding of Supreme Court

  precedent, a categorical ban on a class of weapons commonly used for self-defense

  is unlawful.

        This conclusion is 1nade clearest when looking to the closest historical

  analogue to an AR-15: a Bowie lmife. The Bowie lmife was a type oflmife that

  was commonly-used throughout the United States during the 1800s; the Bowie

  knife was distinctive for its long blade. (ECF No. 176-1 at 401; id at 503-04).

  Bowie knives

  23
     This point goes more specifically to a point argued by amici, who argue against
  the view that the Assault Firearms Law was a categorical ban by stating that the
  Assault Firearms Law "does not ban possession of all 'rifles' or 'semi-aut0111atic
  rifles.' The statute regulates an enumerated, tailored list of semi-automatic rifles and
  semi-automatic pistols and an enmnerated, narrowly tailored list of firearm features
  that pose a specific threat to society." (ECF No. 186-1 at 26).
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  had longer blades than ordinary knives, had crossguards to protect the hands of a

  combatant, and had clip points to make it easier to cut or stab opponents. (ECF No.

  176-1 at 401; id. at503-04). The State Defendants analogize AR-15s to the Bowie

  knife given that semi-automatic pistols with detachable magazines only began to

  retailin thelate 1800s. (ECFNo.183-1 at7 4-75;ECFNo.183-1 at88 ). The State

  Defendants put forth proof of regulations in various States such as Tennessee and

  Arkansas which prohibited the carrying and sale of Bowie knives to argue here that

  New Jersey's regulation of AR-15s is warranted. (See ECF No. 18 3-1 at75). While

  "Bowie knives and many other knives were often regulated like handguns[,]" one

  main fact undermines State Defendants' argument here. D.B. Kopel, & Joseph G.S.

  Greenlee, The History ofBans on Types ofArms Before 1900, 50 J. OF LEGIS. 224,

  293 (2024). Few States prohibited the complete sale of Bowie knives. Indeed, the

  mainstream approach to Bowie knife regulation was to "ban concealed carry, to

  forbid sales to minors, or to impose extra punishment for criminal misuse[,] not to

  wholesale ban their possession." Id. Thus, when looking at the "hows" of the

  regulation, it does not stand against the Supreme Court's dictates set forth in Bruen

  and Heller; a few States' approach to banning Bowie knife regulation does not render

  its regulation consistent with the Nation's historical tradition, and it does not suggest

  to the Court that Bowie knives were widely regarded as not used for lawful purposes




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  or that AR-15s are viewed in that same way, Nor do the "whys'' put forth stand

  since the AR-15 has been shown to be a fireann in common-use for self-defense.

         The State Defendants and amici argue that in undertaking this second step of

  the test set f01ih by Bruen, the Court should consider the nuanced circumstances

  discussed by Justice Thomas in Bruen; specifically, Justice Thomas noted that "other

  cases implicating unprecedented societal concerns or dramatic technological

  changes may require a more nuanced approach. The regulatory challenges posed

  by fireanns today are not always the saine as those that preoccupied the Founders

  in 1791 or the Reconstruction generation in 1868."        597 U.S. at 27.       The

  Comi explained that these reasons would require a look to the "hows" and

  "whys" of a regulation. Id. at 29. In this vein, State Defendants and amici argue

  that the past 200 years' worth of unprecedented societal changes such as increased

  urbanization and advances in firearms technology have greatly increased the

  lethality of 1nass shootings and thus, necessitate this nuanced analysis. (ECF No.

  186-1 at 15-24). This argument, however, brings the Court back to its conclusion:

  the similarity of the Assault Firearms Law's AR-15 Provision to the issues treated

  in Heller.   State Defendants' argwnent fails because, like in Heller, the

  Assault Firearms Law categorically bans a type of weapon that is commonly used

  for self-defense.




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        Based upon the Supreme Court's clear direction on this point, the AR-15

  Provision of the Assault Firearms Law is unconstitutional for the Colt AR-15 for

  use for self-defense in the home.

        C. LCM Amendment

        Plaintiffs argue both that the LCM Amendment is unconstitutional because it

  (1) violates the Second and Fourteenth Amendments and (2) constitutes a prohibited

  taking under the Fifth Amendment. The LCM Amendment passes constitutional

  muster because although the Second Amendment right is implicated, this regulation

  is in line with the historical regulations within the tradition of our Nation. Put more

  precisely, the reduction of capacity is a limitation on firearms ownership. It is not a

  categorical ban preventing law-abiding citizens from exercising their Second

  Amendment rights for a weapon that is in common use for self-defense. It is well

  established that "a right secured by the Second Amendment is not unlimited ...."

  Bruen, 597. U.S. at 2 1. New Jersey's LCM Amendment is an appropriate

  limitation on the Second Amendment rights for the reasons below.

      1. The Constitutionality of the LCM Amendment under the Second and
         Fourteenth Amendments
        Applying the Bruen test, one looks first at whether large capacity ammunition

  magazines are entitled to Second Amendment protections under the plain text of the

  Second Amendment. The Court need not look far to answer this question.            The

  Supre1ne Court has held that "[t]he possession of arms also implie[s] the possession


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   of ammunition," United States v. Miller, 307 U.S. 174, 180 (1939). This reading

   has been confinned by the Third Circuit, which has held that large capacity

   ammunition magazines are an arm within the meaning of the Second Amendment.

   Specifically, the Third Circuit has stated that "since magazines feed ammunition into

   certain guns, and am1nunition is necessary for such a gun to function as intended,

  1nagazines are 'arms' within the meaning of the Second Amendment" ANJRPC II,

   910 F.3d at 116. While the Third Circuit's decision on this point was made prior to

   the Supre1ne Court's decision in Bruen, the Court does not read Bruen to disrupt the

  Third Circuit's reading of plain text of the Second Amendment. See Bruen, 597 U.S.

   at 19 ("Step one of the [overturned] framework is broadly consistent with Heller,

  which demands a test rooted in the Second Amendment's text, as informed by

  history."). In this Court's understanding of Bruen, the question of whether the plain

  text of the Second Amendment covers the statutory language of the LCM

  Ainendment under Heller's first step was unaltered by Bruen. Accordingly, the

  Third Circuit's finding that magazines are arms within the meaning of the Second

  Ainendment stands. 24


  24 Delaware State Sportsmen's Ass 'n, Inc. v. Delaware Dep 't ofSafety & Homeland
  Sec., 664 F. Supp. 3d 584,596 (D. Del. 2023), aff'd No. 23-1633, 2024 WL 3406290
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  (3d Cir. July 15, 2024) (in denying Plaintiffs' 1notion for a preliminary injunction,
  finding that large capacity 1nagazines were an arm within the meaning of the Second
  Amendment and relying upon ANJRPC JI) but see Delaware State Sportsmen's
  Ass n Inc. v. Delaware Dep't ofSafety & Homeland Sec., No. 23-cv-1633, 2024 WL
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  3406290, at *15 (3d Cir. July 15, 2024) (Roth, J., concurring) (arguing that the
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        In a similar argument to that leveled against the Assault Firearms Law's AR-

  15 Provision, State Defendants argue that large capacity magazines are not in

  common use today for self-defense and are therefore unprotected under the Second

  Amendment. (ECF No. 183-1 at 36). The State Defendants argue that the evidence

  before the Court shows that civilians acting in self-defense rarely use more than ten

  shots and rarely use more than one magazine.         (Id at 37).   Therefore, State

  Defendants argue, that magazines holding more than ten rounds are rarely used for

  self-defense. The Third Circuit has addressed this question in ANJRPC 11, "although

  less definitively." DelawareDep'tofSafety & Homeland Sec., 664 F. Supp. 3d 584,

  596 (D. Del. 2023), aff'd, No. 23-cv-1633, 2024 WL 3406290 (3d Cir. July 15, 2024)

  (citing ANJRPC 11, 910 F.3d at 116). As Judge Andrews described:

        Applying the now-defunct two-step approach under intermediate
        scrutiny, the Third Circuit "assmne[ d] without deciding that LCMs are
        typically possessed by law-abiding citizens for lawful purposes."
        ANJRPC II, 910 F.3d at 116. It did, however, observe that "millions of
        magazines are owned, often come factory standard with semiautomatic
        weapons," and "are typically possessed by law-abiding citizens for
        hunting, pest-control, and occasionally self-defense." Id.

  Id. at 596. This Comt agrees with Judge Andrew's review of ANJRPC II. And what

  is more, the Comt believes that-by definition-large capacity 1nagazines are

  commonly owned given that the LCM Amendment permits some level of large



  record developed in the same case "shows that none of the assault weapons and
  [large capacity 1nagazines] are 'Arms' protected by the Second Amendment.").
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   capacity magazine ownership in the State of New Jersey and has done so for more

   than thhty years. 25

         The Court moves next to its analysis of the State of New Jersey's justification

   for its regulation by exainining its reasons for regulating large capacity ammunition

   magazines and their consistency with our Nation's historical tradition of firearm

   regulation. Prior to undertaking this step in the Bruen analysis, the Court addresses

   a distinction between the analysis of the Assault Fireanns Law with respect to AR-

   1 Ss and the LCM Amendment. In the Court's reading of the Assault Firea1ms Law

   as it relates to the AR-15 Provision, the unprecedented societal changes discussed

   by Justice Thomas were not implicated given the facial similarities between the case

   before the Comt and Heller and Bruen.

         The LCM Amendment presents different issues, and the nuanced analysis is

   implicated. The State Defendants argue that the unprecedented rapidity and damage

   of mass shootings support a nuanced reading of the histmical analogues under



   25 In a similar way to briefing surrounding the "dangerous and unusual" origin of the

  AR-15, the dangerous and unusual origin of large capacity magazines was not
  extensively briefed. Instead, State Defendants relied upon the military origins of
  large capacity ammunition 1nagazines to demonstrate that large capacity magazines
  are most useful in military service and therefore may be banned without infringing
  the Second Amendment right. (ECF No. 183-1 at 45-46). See also discussion at
  supra note 22. Notwithstanding this gap, as will be explained below, the unusual
  nature of large capacity ammunition magazines was elucidated through other
  elements of the briefing and is addressed in the nuanced analysis under the second
  step of Bruen.
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  Bruen. (ECF No. 183-1 at 58, 61-63). Plaintiffs, on the other hand, argue that

  firearms capable of firing more than ten rounds are not a modern innovation, that

  these arms predate the American Revolution by about one hundred years, and that

  there were no laws restricting ammunition capacity at the time of the Founding.

  (ECF No. 175-7 at 37). Plaintiffs do concede that "modern firearms and magazines

  like the ones New Jersey has banned are more accurate and capable of quickly firing

  more rounds than their founding-era predecessors." (ECF No. 175-7 at 40). The

  State Defendants' argument is valid because the accuracy and lethality of the

  weapons in facilitated by these large capacity ammunition magazines is an

  unprecedented change and was not addressed in the Supreme Court's decisions in

  Heller or Bruen.

        As the briefing has revealed, the question of magazine capacity is directly

  related to the mass shooting issue since a magazine's capacity bears strongly upon

  the lethality and accuracy of modern firearms; where mass shootings have become

  a societal scourge, the very practical issue of ways to prevent-or alternately, to

  limit-their lethality is before the Court. Even where there may have been mass

  events of murder in the Founding Era or Reconstruction Era, these instances pale in

  comparison to the accurate brutality exacted today by mass shooters. For these

  reasons, the nuanced historical analysis discussed within Bruen-which called for




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  nuanced "analogical reasoning" to determine whether historical analogues are

  "relevantly similarH in unprecedented circumstances-is appropriate. Id. at 28.

         Turning now to the nuanced analysis, evidence submitted to the Court shows

  that detachable magazines did not exist in the Founding period; it was not until the

  mid- l 800s that patents for magazines falling within the definition of the LCM

  Amendment began appearing in the historical record. 26 (ECF No. 175-6 at 21; see

  also ECF No. 176-1 at 896-97). Large capacity detachable magazines and the belt

  feeding mechanism in firearms "can be traced directly to a military heritage ... and

  it was[ not] until the advent of WWI that development and refinement of large

  capacity feeding devices for machineguns gained increased impmiance." (ECF No.

   176-1 at 896).    Admittedly, the "line between military and civilian arms was

  certainly blurred at the founding of the country. While the military ... sometimes

  utilized superior civilian arms, civilians could also possess guns that were

  traditionally associated with the militmy .... '' (ECF No. 175-6 at 18).

        In the 1860s, rifles capable of holding more than ten rounds became available,

  but the magazine was fixed. 27 (ECF No. 175-6 at 21; ECF No. 184-3 at 8, 43-44,

  46). These rifles were mostly sold to the military, and civilians possessed a small



  26 In 1847, Walter Hunt patented a tubular magazine.     (ECF No. 175-6 at 21) In
  1855, Rollin White patented a box magazine. (Id.). Finally, in 1864, Robert Wilson
  patented a detachable magazine. (Id.; see ECF No. 176-1 at 896-97).
  27 A fixed magazine is a magazine that is not detachable from the firearm.

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  percentage of those rifles at the time of the ratification of the Fourteenth Amendment

  in 1868. (ECF No. 184-3 at 48).

        Despite the issuance of a patent for detachable magazines in 1864, firearms

  with detachable magazines were not widely available until the end of the Nineteenth

  Centmy. (ECF No. 175-6 at 21; ECF No. 176-1 at 475-76; ECF No. 197 at 23).

  According to State Defendants' expert Brian Delay, "detachable magazines first

  emerged in the 1880s and began to be integrated into firearms for the consumer

  market by the end of the centmy." (ECF No. 184-3 at 54). Further, firearms with

  detachable magazines capable of holding more than ten rounds became

  commercially available in the 1920s. (ECF No. 184-3 at 9). As magazines capable

  of holding more than ten rounds did not exist in 1791 and were not widely available

  in 1868, to locate a statute or regulation from that time predicting their existence is

  unlikely.

        In sum, the relevant large capacity magazines simply did not exist during

  Founding or Reconstruction Eras. As a result, the next step is to "engag[e] in an

  analogical inquily" by assessing "how and why the regulations burden a law-abiding

  citizen's right to armed self-defense." Bruen, 597 U.S. at 29.

        The apt historical analogues here are other firearms (specifically, pistols) and

  the Bowie lmife. With respect to pistols, the relevant restrictions provided by the

  State Defendants are largely contemporary. For example, State Defendants' Expert


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   Richard Roth (hereinafter, "Roth'') cites Twentieth Century regulations surrounding

   firearms more broadly linked to a surge in violence in the United States that occurred

   between the Mexican-American War and Reconstruction. (ECF No. 176-1 at 403-

   10). Where earlier limitations were provided, these examples are limited.       State

  Defendants' Expert Robert J. Spitzer (hereinafter, "Spitzer") details pistol

  restrictions in the Eighteenth Century, and the limitations he lists are: penalties for

   crimes committed by armed perpetrators in Connecticut, Ohio, New Jersey, and

  Maryland; restrictions in New York, Ohio and Maryland to punish discharge of

   firearms near populated areas; and laws in Virginia, Massachusetts, North Carolina,

  and Tennessee which criminalized public arms carrying. (ECF No. 176-1 at 45-46).

  In addition, Spitzer details the regulation of semi-automatic weapons in the early to

  mid-nineteenth century. (ECF No. 176-1 at 463-75). As the Supreme Court noted

  in Bruen, while postenactment history has weight in this analysis, the use of post-

  Civil War discussions of the right to keep and bear arms "took place 75 years after

  the ratification of the Second Amendment, [and does] not provide as much insight

  into its original meaning as earlier sources." Bruen, 597 U.S. at 36 (quoting Heller,

  at 554 U.S. at 614).

         With respect to restrictions on the concealed carrying of pistols, the evidence

  appears to vary based upon the region. According to Spitzer, forty-nine States and

  the District of Columbia enacted laws that prohibited the ''concealed carrying of


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  certain enumerated weapons or types of weapons." (ECF No. 176-1 at 577-80).

  Stronger restrictions might have been enacted in different geographic areas where

  homicide rates were higher. For example, in Texas "where the homicide rate soared

  to at least 76 per 100,000 adults per year from June 1865 to June 1868, the legislature

  passed a time-place-manner restriction bill in 1870 to prohibitthe open or concealed

  carry of a wide range of weapons, including firearms ... " (ECF No. 176-1 at 408).

  By the early Twentieth Century, laws appeared to restrict "general weapons

  carrying, whether concealed or open[.]" (ECF No. 176-1 at 577-80). Notably

  missing from the historical record provided to the Court are categorical and

  complete bans on firearms.

        The most analogous comparison to the regulation at issue here is the Bowie

  knife, which-like many other knives-"were [historically] often regulated like

  handguns[.]" D. B. Kopel, & Joseph G.S. Greenlee, The Histmy ofBans on Types

  ofArms Before 1900, 50 J. OF LEGIS. 224, 293 (2024). Bowie knives were prolific

  in the United States in the 1830s and were widely used in fights and criminal

  activities. (ECF No. 176-1 at 505-09 (citing three cases, two from Tennessee and

  one from Texas: Aymette v. State, 1840 WL 1554, 21 Tenn. 152 (Tenn. 1840);

  Haynes v. Tennessee, 1844 WL 1894, 24 Tenn. 120 (Tenn. 1844); Cockrum v. State,

  1859 WL 6446, 24 Tex. 394 (Tex. 1859); ECFNo. 183-1 at 74-75). At leasttwenty­

  four States or Territories enacted restrictions on the possession of such knives


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   between 1837 and 1868. (ECF No. 176-1 at 582-85; id. at 624-718). Once Bowie

   knives' potential misuse became apparent, restrictions were enacted in all other

   states or territories-with the exception of New Hampshire-within the next few

   decades and up until the Twentieth Century. (Id. at 510). The State Defendants

   present proof of the regulation in various states such as Tennessee and Arkansas

   which prohibited the carrying and sale of Bowie knives. (See ECF No. 183-1 at 75).

   Few states prohibited the complete sale of Bowie knives. Indeed, the mainstreatn

   approach to Bowie knife regulation was to "ban concealed carry, to forbid sales to

   minors, or to impose extra punishment for criminal misuse[,] not to wholesale ban

   their possession." D. B. Kopel, & Joseph G.S. Greenlee, The Histmy of Bans on

   Types of Arms Before 1900, 50 J. OF LEGIS. 224, 293 (2024). Thus, while a few

   outlier States implemented near-total restrictions on Bowie knives, these

   restrictions overall fanned the basis for a tradition of prohibiting a subset of aims

   that could be useful and had become common for self-defense yet neve1theless

   posed a threat to public safety.

         Analyzing the historical analogues requires the Comt to consider "both 'how'

  and 'why' the regulations . . . burden a law-abiding citizen's right to armed

  self-defense."' Lara, 91 F.4th at 129 (quoting Bruen, 597 U.S. at 29). With respect

  to the "how," the LCM Amendment places a burden on self-defense that is

  comparable to the burden imposed by the historical analogues. Evidence has been


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  presented that there is a tradition in our Nation of weapons regulation for weapons

  such as pistols or Bowie knives. These laws prohibited the use of these weapons in

  ·certain ways. For instance, throughout the Eighteenth Century, numerous states

  issued penalties, laws, or restrictions for the use or discharge of firearms in certain

  1nanners, including discharge in a public area or public arms carrying. (ECF No.

  176-1 at 45-46). Or take the regulations within the Nineteenth Century addressing

  the Bowie knife; while several States banned the carrying or use of Bowie knives in

  certain ways in the early 1800s, by the mid-1800s, at least twenty-four States or

  Territories enacted some level of restriction on Bowie knives. (ECF No. 176-1 at

  582-85; id. at 624-718). Once Bowie knives' potential misuse became apparent,

  restrictions were enacted in all other states or territories-with the exception ofNew

  Hainpshire-within the next few decades and up until the Twentieth Century. (Id

  at 510).      Like these restrictions, the LCM. Amendment is precisely that-a

  restriction responding to safety concerns present in our time.

          As to the "whys" for the LCM Amendment, there is significant data that large

  capacity 1nagazines increase the lethality of mass shooting events. 28 The prevalence

  of large capacity magazines being holding more than ten rounds being used in high­

  fatality mass shootings is extremely high; indeed, all mass shootings between 2019

  through 2022 involved their use. (See ECF No. 176-1 at 268-71, 278; see ECF No.


  28
       See discussion at supra 1130-33.
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   183-2 at 33). This observation reflects growing trends. First, that mass shootings

   are becoming more deadly. Second, that large capacity ammunition magazines have

   been used in most of these mass shooting events in recent years. This relationship

   is impossible to ignore.   The stated purpose of the State of New Jersey-to

   effectively slow down a mass shooter-is well-served by the LCM Amendtnent.

  The LCM Amendment might accomplish this end by providing a solution to this

  ve1y real problem; the lethality exerted upon the victims of a shooter anned with a

  magazine that can continue to shoot in a line of uninterrupted fire for a longer time

  period is lessened where that line of uninterrupted fire is reduced. A limitation on

  magazine capacity stops the rate at which victims can be injured. A limitation on

  magazine capacity allows for time during which a shooter may be intercepted,

  interrupted, or hopefully, stopped. Such a problem-while new to us-is analogous

  to other safety issues presented by commonly used weapons for lawful purposes

  confronted by our Nation in the past. In the past, legislators took action to prevent

  these societal problems with limitations as the State of New Jersey has done here.

  This burden on the people ofNew Jersey's right to self-defense is comparable to that

  imposed by these historical laws. As such, these historical analogues provide the

  basis for the following conclusion: that the State may regulate the permissible

  capacity of the large capacity magazines.

        For these reasons, the LCM Amendment is constitutional.


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      2. The Constitutionality of the LCM Amendment under the Fifth and
         Fourteenth A1nendments

        Plaintiffs Ellman and Weinberg also bring claims asserting violations of the

  Takings Clause of the Fifth Amendment. Plaintiffs Ellman and Weinberg argue that

  they have suffered damages because of the LCM A1nendment.             Specifically,

  Plaintiffs Ellman and Weinberg argue that their large capacity a1nmunition

  magazines have been taken from thetn without just co1npensation. State Defendants

  oppose this motion, arguing for summary judgment in their favor because this issue

  was already decided by the Third Circuit on the 111elits in 2018. (ECF No. 183-1 at

  90; ANJRPC II, 910 F.3d at 124; see also ANJRPC Ill, 974 F.3d at 240). State

  Defendants are correct, and Plaintiffs' Motion for Summary Judgment is denied.

        TI1is exact issue was already addressed and decided by the Third Circuit.

  ANJRPC II, 910 F .3d at 124 (finding that the LCM Amendment was neither an actual

  nor a regulatory taking). In the Court's reading of Bruen, Bruen altered the means-

  end scrutiny analysis to the Second Amendment analysis. And while the Supreme

  Court vacated the judgment and retnanded the matter for reconsideration in light of

  Bruen, the Court does not read anything in the text of Bruen to dis1upt the Third

  Circuit's decision as it relates to the Fifth A1nendment analysis. In the same way

  that that the Court is bound to follow decisions of the Supreme Comt, the Court is

  bound by decisions of the Third Circuit.

        The LCM Amendment is not an unconstitutional taking.
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                                            VI.

        The AR-15 Provision of the Assault Fireanns Law is unconstitutional under

  Bruen and Heller as to the Colt AR-15 for use of self-defense within the home. In

  contrast, the LCM Atnendment is constitutional under these saine decisions. The

  Third Circuit's decision on whether the LCM Amendment constitutes an

  unconstitutional taking-and its finding that the LCM Amendment does not­

  remains valid since Bruen did not disrupt this holding.

        An Order and Judgment follow.




                                          PETER G. SHERIDAN, U.S.D.J.




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